                                      United States Bankruptcy Court
                                     Middle District of Pennsylvania
In re:                                                                                  Case No. 17-00210-JJT
Kayla Sue John                                                                          Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0314-5           User: MMchugh                Page 1 of 2                   Date Rcvd: Apr 20, 2017
                               Form ID: ntcnfhrg            Total Noticed: 42


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 22, 2017.
db             +Kayla Sue John,    148 School St.,     Scranton, PA 18508-2766
4875455        +American Sole Emergency,     Physicians LLC,    13737 Noel Rd Ste 1600,    Dallas, TX 75240-1374
4875490       ++C O AMERICAN INFOSOURCE LP,     4515 N SANTA FE AVE,     OKLAHOMA CITY OK 73118-7901
               (address filed with court: T-Mobile Customer Relations,        P.O. Box 37380,
                 Albuquerque, NM 87176)
4875457        +Capital One,    PO Box 30285,    Salt Lake City, UT 84130-0285
4875459        +City of Scranton,    c/o Northeast Revenue Svc.,     340 N. Washington Ave.,
                 Attn: Delinquent Waste Disposal,      Scranton, PA 18503-1582
4875460        +Comcast-PA,    Attn: Bankruptcy,    1555 Suzy St.,    Lebanon, PA 17046-8318
4875461         Commonwealth Health,     1605 Valley Center Pkwy, Ste 200,     Bethlehem, PA 18017-2345
4875462        +Convergent Outsourcing,     800 SW 39th St.,    Renton, WA 98057-4975
4875463       ++DIRECTV LLC,    ATTN BANKRUPTCIES,     PO BOX 6550,   GREENWOOD VILLAGE CO 80155-6550
               (address filed with court: Directv,       P.O. Box 6550,    Greenwood Village, CO 80155)
4875464        +EOS CCA,    700 Longwater Drive,    Norwell, MA 02061-1624
4875465        +ERC,    P.O. Box 57547,    Jacksonville, FL 32241-7547
4875466        +Federal Loan Servicing Credit,     P.O. Box 60610,    Harrisburg, PA 17106-0610
4875467        +Fedloan Servicing,    P.O. Box 69184,     Harrisburg, PA 17106-9184
4875468        +First National Community Bank,     102 E. Drinker St.,     Dunmore, PA 18512-2491
4875469         First Premier Bank,     P.O. Box 5524,    Sioux Falls, SD 57117-5524
4875470        +Focus Receivables Mgmt.,     1130 Northchase Parkway, Suite 150,     Marietta, GA 30067-6429
4875472        +HSBC Card Services,     P.O. Box 80084,    Salinas, CA 93912-0084
4875473        +Jefford G.Brown, Jr.,     148 School St,    Scranton PA 18508-2766
4875475        +KML Law Group, P.C.,     Suite 5000, BNY Mellon Independence Ctr.,     701 Market St.,
                 Philadelphia, PA 19106-1538
4875476        +Law offices of Tullio DeLuca,     381 N. 9th Avenue,     Scranton, PA 18504-2005
4875478        +Macy’s,    Attn: Bankruptcy Processing,     PO Box 8053,    Mason, OH 45040-8053
4875479        +Medical Data Systems, Inc.,     d/b/a Medical Revenue Service,     645 Walnut St., Ste. 5,
                 Gadsden, AL 35901-4173
4875480        +Midland Credit Management, Inc.,     as agent for Midland Funding, LLC,     P.O. Box 2011,
                 Warren, MI 48090-2011
4875481        +Midland Funding, LLC,     2365 Northside Drive, Ste. 300,     San Diego, CA 92108-2709
4875482         Penn Credit Corp.,    916 South 14th Street,     P.O. Box 988,    Harrisburg, PA 17108-0988
4875485        +Regional Hospital of Scranton,     746 Jefferson Ave.,     Scranton, PA 18510-1624
4875486        +Scranton Sewer Authority,     312 Adams Ave.,     Scranton, PA 18503-1651
4875491        +Trident Asset Management,     P.O. Box 888424,    Atlanta, GA 30356-0424

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4875453        +E-mail/Text: seinhorn@ars-llc.biz Apr 20 2017 19:01:49       ACC, LLC,    One Montage Mountain Rd.,
                 Moosic, PA 18507-1777
4875456        +E-mail/Text: g20956@att.com Apr 20 2017 19:01:42      AT & T Mobility II, LLC,
                 c/o AT&T Services, Inc.,    Karen A. Cavagnaro - Lead Paralegal,     One AT&T Way, Rm.3A104,
                 Bedminster, NJ 07921-2693
4875454        +E-mail/Text: seinhorn@ars-llc.biz Apr 20 2017 19:01:50       American Credit & Collection,
                 1 MONTAGE MOUNTAIN RD,    MOOSIC , PA 18507-1777
4881326         E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Apr 20 2017 19:04:39
                 American InfoSource LP as agent for,    T Mobile/T-Mobile USA Inc,     PO Box 248848,
                 Oklahoma City, OK 73124-8848
4875458        +E-mail/Text: bankruptcy@cavps.com Apr 20 2017 19:01:33       Cavalry Portfolio Services,
                 500 Summit Lake Dr. Ste 4A,    Valhalla, NY 10595-2323
4875471        +E-mail/Text: RMOpsSupport@alorica.com Apr 20 2017 19:01:28       Global Receivables Solution,
                 2703 N. Highway 75,    Sherman, TX 75090-2567
4875477         E-mail/Text: camanagement@mtb.com Apr 20 2017 19:00:59       M&T Bank,    1100 Wehrle Drive,
                 Williamsville, NY 14221
4888648         E-mail/Text: camanagement@mtb.com Apr 20 2017 19:00:59       M&T Bank,    P.O. Box 840,
                 Buffalo, NY 14240-0840
4875484         E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Apr 20 2017 19:05:09
                 Portfolio Recovery Associates LLC,    120 Corporate Blvd,    Norfolk, VA 23502
4875483        +E-mail/Text: csc.bankruptcy@amwater.com Apr 20 2017 19:01:52        Pennsylvania American Water,
                 P.O. Box 578,   Alton, IL 62002-0578
4890276         E-mail/Text: bnc-quantum@quantum3group.com Apr 20 2017 19:01:04
                 Quantum3 Group LLC as agent for,    CF Medical LLC,    PO Box 788,    Kirkland, WA 98083-0788
4875487        +E-mail/Text: appebnmailbox@sprint.com Apr 20 2017 19:01:19       Sprint,    P.O. Box 7993,
                 Overland Park, KS 66207-0993
4875488        +E-mail/PDF: gecsedi@recoverycorp.com Apr 20 2017 18:58:33       Synchrony Bank,    PO Box 965060,
                 Orlando, FL 32896-5060
4875489         E-mail/PDF: gecsedi@recoverycorp.com Apr 20 2017 18:58:33       Synchrony Bank/Wal-Mart,
                 Attn: Bankruptcy Dept.,    P.O. Box 965060,   Orlando, FL 32896-5060
                                                                                               TOTAL: 14




       Case 5:17-bk-00210-JJT Doc 25 Filed 04/22/17                  Entered 04/23/17 00:48:16         Desc
                            Imaged Certificate of Notice             Page 1 of 3
District/off: 0314-5                  User: MMchugh                      Page 2 of 2                          Date Rcvd: Apr 20, 2017
                                      Form ID: ntcnfhrg                  Total Noticed: 42


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4875474*         +Kayla Sue John,   148 School St.,   Scranton, PA 18508-2766
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 22, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 20, 2017 at the address(es) listed below:
              Charles J DeHart, III (Trustee)   dehartstaff@pamd13trustee.com, TWecf@pamd13trustee.com
              James Warmbrodt    on behalf of Creditor    M&T BANK bkgroup@kmllawgroup.com
              Tullio DeLuca    on behalf of Debtor Kayla Sue John tullio.deluca@verizon.net
              United States Trustee   ustpregion03.ha.ecf@usdoj.gov
                                                                                            TOTAL: 4




         Case 5:17-bk-00210-JJT Doc 25 Filed 04/22/17                               Entered 04/23/17 00:48:16                Desc
                              Imaged Certificate of Notice                          Page 2 of 3
ntcnfhrg (04/17)

                                   UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF PENNSYLVANIA
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade):

    Kayla Sue John                                                                     Chapter                      13
    aka Kayla John, aka Kayla S. John, aka Kayla Sue
    Brown, aka Kayla Brown, aka Kayla S. Brown                                         Case No.                     5:17−bk−00210−JJT
    Debtor(s)



                                                                               Notice

The confirmation hearing has been scheduled for the Debtor and Joint Debtor on the date indicated below.

A deadline of May 19, 2017 has been set for objections to confirmation of the Plan. Any objections to confirmation
of the Plan will be heard at this hearing. Counsel should be prepared to proceed with said hearing on any unresolved
objections to the Plan at this time.

                                  United States Bankruptcy Court
                                  Courtroom #2, Max Rosenn US                         Date: May 31, 2017
                                  Courthouse, 197 South Main
                                  Street, Wilkes−Barre, PA 18701                      Time: 09:30 AM



A copy of the Plan can be obtained by accessing the case docket through PACER, or from the Bankruptcy Clerk's
Office at the address listed below during normal business hours.


Initial requests for a continuance of hearing ( L.B.F. 9013−4, Request to Continue Hearing/Trial with Concurrence) shall be filed with the Court. Requests received by
the Court within twenty−four (24) hours of the hearing will not be considered except in emergency situations. Additional requests for continuance must be filed as a
Motion.

Requests to participate in a hearing telephonically shall be made in accordance with L.B.R. 9074−1(a).

Electronic equipment, including cell phones, pagers, laptops, etc., will be inspected upon entering the Courthouse. These devices may be used in common areas and
should be turned to silent operation upon entering the Courtroom and Chambers.

Photo identification is required upon entering the Courthouse.

Address of the Bankruptcy Clerk's Office:                                            For the Court:
U.S. Bankruptcy Court                                                                Clerk of the Bankruptcy Court:
274 Max Rosenn U.S. Courthouse                                                       Terrence S. Miller
197 South Main Street                                                                By: MMchugh
Wilkes−Barre, PA 18701
(570) 831−2500
Hours Open: Monday − Friday 9:00 AM − 4:00 PM                                        Date: April 20, 2017




     Case 5:17-bk-00210-JJT Doc 25 Filed 04/22/17                                                     Entered 04/23/17 00:48:16                           Desc
                          Imaged Certificate of Notice                                                Page 3 of 3
